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 4
     Attorney for JEREMY RAYMER
 5
 6                                   UNITED STATES DISTRICT COURT
 7                                 NORTHERN DISTRICT OF CALIFORNIA
 8
 9    UNITED STATES OF AMERICA,                                Case No. CR 04-0309 CRB
10                          Plaintiff,                         STIPULATION AND [PROPOSED]
                                                               ORDER TO CONTINUE SENTENCING
                                                               HEARING
11           vs.
                                                               Date:      September 6, 2006
12                                                             Time:      2:15 p.m.
                                                               Courtroom: The Hon. Charles R. Breyer
13    STEPHANIE SITKEWICH, RYAN NYBERG,
      JEREMY RAYMER, and GABRIEL PINAR,
14
15                          Defendants.
16
17          Stephanie Sitkewich, Ryan Nyberg, Jeremy Raymer, and Gabriel Pinar are currently scheduled to
18   be sentenced by the Honorable Judge Charles R. Breyer on September 6, 2006. In order to resolve issues
19   with Presentence Reports and to accommodate the schedules of counsel, the parties request that this
20   matter be continued until September 27, 2006, at 11:00 a.m. U.S. Probation Officer Lynne Richards has
21   been informed of and has agreed to this continuance.
22   ///
23   ///
24   ///
25   ///
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             Case 3:04-cr-00309-CRB        Document 270       Filed 08/25/06         Page 2 of 2



 1           THEREFORE, the parties stipulate and hereby agree that the matter should be continued for
 2   sentencing as to the aforementioned defendants until September 27, 2006 at 11:00 a.m.
 3
 4   IT IS SO STIPULATED.
 5
 6   Date:                                                           /s/
                                                        COLIN L. COOPER
 7                                                      Cooper Law Office
                                                        Attorney for Defendant STEPHANIE SITKEWICH
 8
 9   Date:                                                           /s/
                                                        STEVEN G. KALAR
10                                                      Federal Public Defender’s Office
                                                        Attorney for Defendant RYAN NYBERG
11
12   Date:                                                           /s/
                                                        EDWARD W. SWANSON
13                                                      Swanson, McNamara & Haller LLP
                                                        Attorney for Defendant JEREMY RAYMER
14
15   Date:                                                           /s/
                                                        GEORGE G. WALKER
16                                                      George G. Walker
                                                        Attorney for Defendant GABRIEL PINAR
17
18   Date:                                                          /s/
                                                        CHRISTOPHER J. STESKAL
19                                                      Assistant United States Attorney
20
21   IT IS SO ORDERED.
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22
                                                                    TES D        TC
     Date: August 24, 2006                                       TA
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23                                                      CHARLES R. BREYER
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                                                        UNITED STATES DISTRICT COURT
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24                                                                                    DERED
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